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                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF COLORADO

 In re:                                              )
                                                     )   Case No. 20-12377-EEB
 SKLAR EXPLORATION COMPANY, LLC,                     )
                                                     )   Chapter 11
            Debtor.                                  )
                                                     )
 In re:                                              )
                                                     )   Case No. 20-12380-EEB
 SKLARCO, LLC,                                       )
                                                     )   Chapter 11
            Debtor.                                  )

                       PREMIUM OILFIELD SERVICES, LLC’S NOTICE OF
                    PERFECTION OF LIENS PURSUANT TO 11 U.S.C. § 546(b)(2)

           Premium Oilfield Services, LLC (“Premium”) hereby gives Notice of Perfection of Liens

 pursuant to 11 U.S.C. § 546(b)(2) (this “Notice”) and states as follows:

           1.       On April 1, 2020 (the “Petition Date”), the Debtors (as defined herein) filed

 voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The Debtors continue to

 operate their business as debtors and debtors-in-possession pursuant to Sections 1107(a) and

 1108 of the Bankruptcy Code.

           2.       Premium is an oilfield service company that provides oilfield fishing services and

 materials.

           3.       Prior to the Petition Date, at the request of Sklar Exploration Company, LLC

 (“Sklar Exploration”), Premium provided certain services and materials to Sklar, Sklarco LLC

 (together with Sklar Exploration, the “Debtors”), and the other owners of the Property described

 herein.

           4.       The Debtors and/or the other owners of the Property described herein have failed

 and refused to pay Premium for the balance owing for goods and services provided.



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        5.      As a result of its work, Premium recorded a verified Claim of Lien (the “Lien

 Claim”) in the Office of the Chancery Clerk of Warren County, Mississippi, thereby perfecting a

 lien (the “Mississippi Lien”) against the real property, oil/gas well and other improvements as

 described therein (collectively, the “Mississippi Property”). A true and correct copy of the

 Mississippi Lien Claim is attached hereto as Exhibit A.

        6.      The Mississippi Lien is properly perfected pursuant to Section 85-7-131 of the

 Mississippi Code and all other applicable law.

        7.      Additionally, as a result of its work described above, Premium recorded four (4)

 Verified Statements of Lien (the “Lien Statements”) in the Office of the Judge of Probate of

 Escambia County, Alabama and the Office of the Judge of Probate of Conecuh County,

 Alabama, thereby perfecting liens (the “Alabama Liens,” and together with the Mississippi Lien,

 the “Liens”) against the real property, oil/gas well and other improvements as described therein

 (collectively, the “Alabama Property,” and together with the Mississippi Property, the

 “Property”).   True and correct copies of the Alabama Lien Statements are attached hereto

 collectively as Exhibit B.

        8.      The Alabama Liens are properly perfected pursuant to Section 35-11-210 of the

 Alabama Code.

        9.      The Liens are summarized as follows:

  Invoice Amount     Service Dates                    Well Name            Well Location
        $43,262.36   11/26/2019 - 12/9/2019           Feld Heir #3         Warren County, MS
        $64,319.03   1/4/2020 - 1/13/2020             Craft-Brye 8-4 #1    Conecuh County, AL
        $15,816.76   10/22/2019 - 2/2/2020            CCL&T 34-14 #1       Conecuh County, AL
        $25,466.92   11/18/2019 - 11/21/2019          CCL&T 10-5 #1        Escambia County, AL
           $585.73   3/6/2020 - 3/17/2020             Craft Rawls 5-8 #1   Conecuh County, AL




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         10.     Premium hereby provides notice of its perfected Liens in accordance with 11

 U.S.C. § 546(b) to the Debtors, their counsel, the Office of the United States Trustee, and other

 parties-in-interest.

                                  RESERVATION OF RIGHTS

         11.     Premium reserves all rights with respect to the scope of its perfected Liens and its

 interests in (i) the whole of the leaseholds on the Property as identified in the Liens, (ii) the

 appurtenances on the Property, (iii) all materials owned by the owners of the leaseholds and used

 in the digging, drilling, torpedoing, completing, operating, or repairing of the oil or gas wells or

 oil or gas pipelines on the Property, (iv) all oil or gas wells located on the leaseholds on the

 Property, (v) all oil or gas produced from the leaseholds on the Property, (vi) all other property

 or property interests identified in the Liens, and (vii) any other property or property interests

 subject to the Liens as provided under applicable law.

         12.     Premium reserves the right to request relief from the automatic stay of 11 U.S.C.

 § 362, or any other appropriate relief, to enforce and defend its perfected Liens against the

 Property or any other property or property interests of the Debtors.

         13.     Nothing in this Notice shall be construed as an admission that any filing is

 necessary to perfect or maintain perfection of the Liens under the Bankruptcy Code, the

 Mississippi or Alabama law, or any other applicable law.           Premium reserves the right to

 supplement or amend this Notice, including the amounts owed and to itemize any further

 attorneys’ fees, costs, interest, or other amounts recoverable under applicable law.




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       Dated: June 18, 2020.

                                   /s/ Andrew J. Shaver
                                   Andrew J. Shaver
                                   BRADLEY ARANT BOULT CUMMINGS LLP
                                   One Federal Place
                                   1819 Fifth Avenue North
                                   Birmingham, Alabama 35203
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                                   Attorney for Premium Oilfield Services, LLC




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on June 18, 2020, I electronically filed the foregoing with the Clerk
 of the Court using the CM/ECF system which will send notification of such filing to, without
 limitation, the following:

       Lee M. Kutner                                  Keri L. Riley
       1660 Lincoln St., Ste. 1850                   1660 Lincoln St., Ste.1850
       Denver, CO 80264                              Denver, CO 80202
       lmk@kutnerlaw.com                             klr@kutnerlaw.com

       Paul Moss
       Byron G. Rogers Federal Building
       1961 Stout St., Ste. 12-200
       Denver, CO 80294
       Paul.Moss@usdoj.gov


 and I hereby certify that I have mailed by United States Postal Service the document to the
 following non-CM/ECF participants:

       Sklar Exploration Company LLC              Sklarco LLC
       5395 Pearl Parkway, Suite 200              5395 Pearl Parkway, Suite 200
       Boulder, CO 80301                          Boulder, CO 80301



                                                  /s/ Andrew J. Shaver
                                                  OF COUNSEL




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